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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF OKLAHOMA

United States of America,
Plaintiff,
VS. Case No.: 24-mj-00094-SH-1
ORDER OF TEMPORARY
Morgan Womack, DETENTION PENDING HEARING
PURSUANT TO BAIL REFORM ACT
Defendant(s).

Upon motion of the United States of America, it is ORDERED that a detention

hearing/preliminary hearing is:

Set on: a\e\g U
At: i O .m./p.m.)

Before Magistrate Judge:
L] Jodi F. Jayne
[Christine D. Little

_] Susan Huntsman

L] Mark T. Steele

The detention hearing will be held:
Magistrate Courtroom #1 on the 3" floor of the United States Courthouse,
333 West Fourth Street, Tulsa, OK, 74103.
Magistrate Courtroom #5 on the 4" floor of the United States Courthouse,
333 West Fourth Street, Tulsa, OK, 74103.
Pending this hearing, Defendant shall be held in custody by the United States Marshal. The United
States Marshal shall produce Defendant at the above-described hearing.

Date: 2/8/2024 eo F k=

—Susan Zune U.S. Magistrate Judge

IA on Complaint Detention (9/2021)
